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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

 JORDAN ZITOUN and                                 §
 ERIN ZITOUN,                                      §
                                                   §
         Plaintiffs,                               §
                                                   §
 v.                                                §                Civil Action No. 3:22-cv-2192
                                                   §
 ALLY BANK and CENLAR FSB,                         §
 as Loan Servicer,                                 §
                                                   §
         Defendants.                               §

                           DEFENDANTS’ NOTICE OF REMOVAL

       Pursuant to 28 U.S.C. §§1332(a) and 1441, Defendants Ally Bank (“Ally”) and Cenlar FSB

(“Cenlar”) (collectively “Defendants”) remove this action from the 191st Judicial District Court

of Dallas County, Texas, to the United States District Court for the Northern District of Texas,

Dallas Division, and in support thereof would show unto the Court the following:

                                 I.      STATE COURT ACTION

       1.      On September 1, 2022, Plaintiffs Jordan Zitoun and Erin Zitoun (“Plaintiffs”) filed

their Original Petition, Application for Temporary Restraining Order and Injunctive Relief (the

“Complaint”), Jordan Zitoun and Erin Zitoun v. Ally Bank and Cenlar FSB, as Loan Servicer;

Cause No. DC-22-11200, in the 191st Judicial District Court of Dallas County, Texas.

       2.      Pursuant to 28 U.S.C. §1446(d), this Notice of Removal will be filed with the 191st

Judicial District Court of Dallas County, Texas, and a copy of this Notice of Removal will also be

served on all parties.

       3.      In the State Court Action, Plaintiffs allege causes of action centered around the

foreclosure of the real property commonly known as 2808 Maple Springs Blvd., Dallas, Texas



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75235 (the “Property”). Plaintiffs seek injunctive relief and damages for breach of contract and

wrongful foreclosure.

       4.      Pursuant to 28 U.S.C. §1446(a), copies of all process, pleadings, orders, and other

papers filed in the 191st Judicial District Court of Dallas County, Texas and obtained by

Defendants are attached hereto. In support of this removal and as required by Local Rule 81.1,

please find attached as follows:

               Exhibit A:        Index of Matters Being Filed;

               Exhibit B:        Civil Cover Sheet;

               Exhibit C:        Supplement to Civil Cover Sheet;

               Exhibit D:        State Court Docket Sheet;

               Exhibit E:        State Court File;

               Exhibit F:        Disclosure Statement and Certificate of Interested Parties.

                      II.     TIMELINE FOR NOTICE OF REMOVAL

       5.      Defendant Ally was served in this action on September 8, 2022. Defendant Cenlar

was served in this action on September 9, 2022. Less than thirty (30) days have passed since

Defendants received notice of this lawsuit, and thus, removal is timely. 28 U.S.C. §1446(b)(1).

              III.      BASIS FOR REMOVAL: DIVERSITY JURISDICTION

       6.      The Court has original jurisdiction over this action pursuant to 28 U.S.C.

§1332(a)(1) because there is complete diversity of the Parties and the amount in controversy

exceeds $75,000.

               a.       Diversity of Citizenship

       7.       Removal in this case is proper because this Court has diversity jurisdiction under

28 U.S.C. §1332(a)(1). Where there is complete diversity among parties and the amount in

controversy exceeds $75,000.00, an action may be removed to federal court.

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         8.    This controversy is entirely between citizens of different states as required for

diversity jurisdiction under 28 U.S.C. §1332(a)(1), in that every defendant is diverse from

Plaintiffs.

         9.    Pursuant to Plaintiffs’ Complaint, Plaintiffs are citizens of Dallas, Dallas County,

Texas.

         10.   Defendant Ally Bank is an indirect wholly-owned subsidiary of Ally Financial Inc.

Ally Financial Inc. was incorporated in Delaware, and has its principal place of business in Detroit,

Michigan. See 28 U.S.C. §1348; Wachovia Bank v. Schmidt, 546 U.S. 303, 318 (2006). For

purposes of diversity, a corporation is a citizen of the state where it is incorporated and the state

where it has its principal place of business. See 28 U.S.C. §1332(c)(1); Lincoln Prop. Co. v. Roche,

546 U.S. 81, 88-89 (2005). Thus, Ally Bank is a citizen of both Delaware and Michigan for

purposes of diversity.

         11.   Defendant Cenlar FSB is a federal savings bank and has its corporate headquarters

and its principal place of business in the state of New Jersey. Cenlar’s citizenship is determined

by the location of its main offices as set forth in their respective articles of association. See 28

U.S.C. §1348; Wachovia Bank v. Schmidt, 546 U.S. 303, 318 (2006). Cenlar’s main office, as

designated in its registration, is located in New Jersey. Therefore, Cenlar is a citizen of New Jersey

for diversity purposes.

         12.   Plaintiffs are citizens of the State of Texas, Defendant Ally is a citizen of Delaware

and Michigan, and Defendant Cenlar is a citizen of New Jersey, accordingly this lawsuit is between

citizens of different states and complete diversity exists among the parties. See 28 U.S.C.

§1332(a)(1).

               b.         Amount in Controversy Exceeds $75,000.



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       13.     Plaintiffs’ Complaint specifies that the amount in controversy, is over $200,000 but

less than $1,000,000. See Plaintiffs’ Complaint at P. 3. Therefore, the amount in controversy meets

the requirement for diversity under 28 U.S.C. §1332(a)(1).

                                          IV.      VENUE

       14.     Venue for this Removal is proper in the United States District Court for the

Northern District of Texas, Dallas Division, because this district and division includes Dallas

County, Texas, which is the location of the pending state court action. 28 U.S.C. §1441(a); 28

U.S.C. §124(d)(1).

                                     V.      CONCLUSION

       WHEREFORE Defendants Ally Bank and Cenlar FSB remove this action from the 191st

Judicial District Court of Dallas County, Texas, to the United States District Court for the Northern

District of Texas, Dallas Division, so that this Court may assume jurisdiction over the cause as

provided by law.


                                                Respectfully submitted,

                                                By:     /s/ Shelley L. Hopkins
                                                        Shelley L. Hopkins
                                                        State Bar No. 24036497
                                                        HOPKINS LAW, PLLC
                                                        3 Lakeway Centre Ct., Suite 110
                                                        Austin, Texas 78734
                                                        (512) 600-4320
                                                        BARRETT DAFFIN FRAPPIER
                                                        TURNER & ENGEL, LLP - Of Counsel
                                                        ShelleyH@bdfgroup.com
                                                        shelley@hopkinslawtexas.com

                                                        Robert D. Forster, II
                                                        State Bar No. 24048470
                                                        BARRETT DAFFIN FRAPPIER
                                                        TURNER & ENGEL, LLP
                                                        4004 Belt Line Road, Ste. 100


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                                                   Addison, Texas 75001
                                                   (972) 386-5040
                                                   RobertFO@bdfgroup.com

                                                   ATTORNEYS FOR DEFENDANTS


                                 CERTIFICATE OF SERVICE

       Pursuant to Federal Rules of Civil Procedure, the foregoing has been filed with the Court
via CM/ECF and I certify that a true and correct copy of the foregoing has been sent on this the
3rd day of October 2022 to all parties of record.

VIA ECF:
Darrell W. Cook
Stephen W. Davis
Rachel E. Edwards
Darrell W. Cook & Associates, a Professional Corporation
6688 N. Central Expressway, Suite 1000
Dallas, Texas 75206
dwcook@cookkeithdavis.com
stephen@cookkeithdavis.com
rachel@cookkethdavis.com
ATTORNEYS FOR PLAINTIFFS

                                                   /s/ Shelley L. Hopkins
                                                   Shelley L. Hopkins




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